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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

   SOUTH CAROLINA COASTAL                     )
   CONSERVATION LEAGUE,                       )
   CHARLESTON WATERKEEPER,                    )
   AMERICAN RIVERS,                           )
   CHATTAHOOCHEE RIVERKEEPER,                 )
   CLEAN WATER ACTION, DEFENDERS              )
   OF WILDLIFE, FRIENDS OF THE                )
   RAPPAHANNOCK, NORTH CAROLINA               )
   COASTAL FEDERATION, and NORTH              )
   CAROLINA WILDLIFE FEDERATION               )
                                              )
                         Plaintiffs,          )        No. 2-18-cv-330-DCN
                  v.                          )
                                              )
   E. SCOTT PRUITT, as Administrator of the )                 ORDER
   United States Environmental Protection     )
   Agency; UNITED STATES                      )
   ENVIRONMENTAL PROTECTION                   )
   AGENCY; R.D. JAMES, as Assistant           )
   Secretary of the Army for Civil Works; and )
   UNITED STATES ARMY CORPS OF                )
   ENGINEERS                                  )
                                              )
                         Defendants,          )
                                              )
   AMERICAN FARM BUREAU                       )
   FEDERATION, et al.,                        )
                                              )
                       Intervenor-Defendants )
                                              )

          The court GRANTS environmental plaintiffs’ motion for clarification or

   reconsideration, ECF No. 72. The court’s August 16, 2018 order on the parties’ motions

   for summary judgment vacates the suspension rule and provides the remedy of a

   nationwide injunction of the rule. ECF No. 66. To the extent that there is any confusion

   regarding the remedy provided in the court’s order, the court clarifies that it GRANTS

   summary judgment for environmental plaintiffs, DENIES the government’s cross-motion

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   for summary judgment, VACATES the Suspension Rule, and ENJOINS the Suspension

   Rule nationwide.

          The court DENIES intervenor-defendants’ motion to stay judgment pending

   appeal, ECF No. 70, and DENIES the government’s motion to stay judgment pending

   appeal, ECF No. 74.

          AND IT IS SO ORDERED.




                                       DAVID C. NORTON
                                       UNITED STATES DISTRICT JUDGE

   December 4, 2018
   Charleston, South Carolina




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